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                                                                         8                                   UNITED STATES DISTRICT COURT
                                                                         9                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   IN RE:                                               No. C-13-02420 YGR (DMR)
                               For the Northern District of California




                                                                         12                                                        ORDER ON JOINT DISCOVERY
                                                                                       LITHIUM ION BATTERIES                       LETTER RE WORLDWIDE
                                                                         13            ANTITRUST LITIGATION                        TRANSACTION DATA [DOCKET NO.
                                                                                                                                   590]
                                                                         14   ___________________________________/
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                                                                                       Plaintiffs and Defendant groups Panasonic, Sanyo, Sony, NEC, and GS Yuasa (the
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                                                                              “Objecting Defendants”) filed a joint letter brief on December 2, 2014 regarding the production of
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                                                                              Defendants’ worldwide transaction-level sales data for lithium ion battery cells and packs.1 [Docket
                                                                         18
                                                                              No. 590.] The court held a hearing on December 18, 2014. This order summarizes the rulings made
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                                                                              on the record.
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                                                                              I.       Worldwide Transaction-Level Data
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                                                                                       Federal Rule of Civil Procedure 26 provides that a party may obtain discovery “regarding
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                                                                              any nonprivileged matter that is relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1).
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                                                                              “Relevancy, for the purposes of discovery, is defined broadly, although it is not without ultimate and
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                                                                         26             Defendant groups Samsung, LG Chem, Hitachi Maxell, and Toshiba have agreed to produce
                                                                              worldwide transaction-level (i.e., non-aggregated) data, including cost data, where available. [See
                                                                         27   Docket No. 606.] It is not clear whether there are any outstanding disputes between Plaintiffs and the
                                                                              Objecting Defendants regarding the production of cost (as opposed to sales) data. If such disputes
                                                                         28   remain, the parties shall meet and confer and file a joint letter that does not exceed five pages by
                                                                              February 9, 2015.
                                                                                Case 4:13-md-02420-YGR Document 624 Filed 12/23/14 Page 2 of 4



                                                                         1    necessary boundaries.” Gonzales v. Google, Inc., 234 F.R.D. 674, 679-80 (N.D. Cal. 2006). A party
                                                                         2    seeking to compel discovery must establish “that its request satisfies the relevancy requirements of
                                                                         3    Rule 26(b)(1) . . . [i]n turn, the party opposing discovery has the burden of showing that discovery
                                                                         4    should not be allowed, and also has the burden of clarifying, explaining and supporting its objections
                                                                         5    with competent evidence.” La. Pac. Corp. v. Money Mkt. 1 Institutional Inv. Dealer, 285 F.R.D.
                                                                         6    481, 485 (N.D. Cal. 2012) (citation omitted). “In determining whether a request for discovery will
                                                                         7    be unduly burdensome to the responding party, the court weighs the benefit and burden of the
                                                                         8    discovery,” considering “the needs of the case, the amount in controversy, the importance of the
                                                                         9    issues at stake, the potential for finding relevant material and the importance of the proposed
                                                                         10   discovery in resolving the issues.” Playboy Enters., Inc. v. Welles, 60 F. Supp. 2d 1050, 1053-54
United States District Court




                                                                         11   (S.D. Cal. 1999) (citing Fed. R. Civ. P. 26(b)(2)).
                               For the Northern District of California




                                                                         12          The Objecting Defendants first argue that worldwide transaction-level data is irrelevant. For
                                                                         13   the reasons stated on the record, the court finds that worldwide transaction-level sales and cost data
                                                                         14   for lithium ion battery cells and packs is relevant. However, the court finds that the following
                                                                         15   information is irrelevant: data relating to sales to foreign companies of cells and packs incorporated
                                                                         16   into finished products that were neither sold in the United States nor destined for United States
                                                                         17   buyers. An Objecting Defendant need not produce sales or cost data related to these “foreign
                                                                         18   finished products” if the Objecting Defendant can demonstrate that the data meets the court’s
                                                                         19   definition. The court ordered the parties to meet and confer to develop a process for identifying and
                                                                         20   verifying that information falls within the court’s definition of irrelevant data regarding a “foreign
                                                                         21   finished product.”
                                                                         22          The Objecting Defendants also argue that to the extent worldwide transaction-level data is
                                                                         23   relevant, it is unduly burdensome to produce. This requires a case-by-case analysis. At the hearing,
                                                                         24   the court held that certain transaction-level information was not unduly burdensome to produce. The
                                                                         25   court also ordered the production of certain information to aid the parties’ meet and confer process
                                                                         26   on the question of burden, and set deadlines for presenting any remaining disputes for judicial
                                                                         27   determination. The court memorializes these orders below.
                                                                         28          A.      Sony Defendants



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                                                                         1           The Sony Defendants shall produce complete transaction-level sales data for Japanese sales
                                                                         2    of lithium ion cells and packs by January 15, 2015. In addition, by January 15, 2015, the Sony
                                                                         3    Defendants shall provide aggregated data for worldwide sales of cells and packs by the Sony
                                                                         4    Defendants and their affiliates so that the parties can continue to meet and confer about what
                                                                         5    additional transactional level data, if any, should be produced. The parties shall complete the meet
                                                                         6    and confer process by January 29, 2015. Any joint letter regarding outstanding disputes shall be
                                                                         7    filed by February 9, 2015, and shall not exceed five pages.
                                                                         8           B.      NEC
                                                                         9           The NEC Defendants shall immediately produce complete worldwide transaction-level sales
                                                                         10   data for cells and packs stored on their centralized database(s).
United States District Court




                                                                         11          C.      Panasonic/Sanyo Defendants
                               For the Northern District of California




                                                                         12          By January 9, 2015, the Sanyo Defendants shall produce to Plaintiffs complete worldwide
                                                                         13   transaction-level sales data for cells and packs stored since 2001 on their centralized database(s).
                                                                         14          By December 24, 2014, Panasonic shall submit a report detailing the burdens associated with
                                                                         15   production of its worldwide transaction-level sales and cost data. By December 24, 2014, Sanyo
                                                                         16   shall submit a report detailing the burdens associated with production of the same data for the years
                                                                         17   1997-2001. For each database that contains relevant sales and cost information, Panasonic and
                                                                         18   Sanyo shall detail:
                                                                         19   C      the type and location of database/system, including identification of legacy
                                                                         20          databases/systems;
                                                                         21   C      whether and for what periods of time the data is archived and must be retrieved;
                                                                         22   C      the fields of data that are maintained on each database/system and the level of detail at which
                                                                         23          it is maintained (i.e., individual transactions, transactions aggregated by specific intervals,
                                                                         24          etc.); and
                                                                         25   C      the time period(s) for which each type of data is available.
                                                                         26   To the extent that Panasonic and/or Sanyo contend that data from any years during the requested
                                                                         27   time period (1997-2013) should be excluded from production, they shall set forth the basis for their
                                                                         28   contention(s). The report shall also include detailed cost estimates and the bases for such estimates.



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                                                                         1             Following the submission of the reports, the parties shall meet and confer regarding
                                                                         2    Plaintiffs’ request for worldwide transaction data. The parties shall complete meeting and
                                                                         3    conferring by January 29, 2015, and shall file any joint letter regarding outstanding disputes by
                                                                         4    February 9, 2015.
                                                                         5    II.      GS Yuasa
                                                                         6             By no later than January 15, 2015, Plaintiffs and GS Yuasa shall file a joint status report
                                                                         7    regarding the status of their discussions about the informal discovery required to facilitate any early
                                                                         8    settlement negotiations and/or GS Yuasa’s anticipated early summary judgment motion. GS Yuasa
                                                                         9    shall also indicate the timing of any summary judgment motion.
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United States District Court




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                                                                         11            IT IS SO ORDERED.




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                               For the Northern District of California




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                                                                         13   Dated: December 23, 2014




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